Case 2:03-cv-02843-BBD-dkv Document 25 Filed 08/31/05 Page 1 of 2 Page|D 45

FOR THE WESTERN DISTRICT OF TENNESSEE

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IN THE UNITED sTATES DISTRICT coURT FII.ED BY _”@_5_, 00

 

BENNIE L. COBB,

THMM.GQUD
Plaintiff , CUE`RK U§ MWQWT wm
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- VS - NO. 03-2843-DV

SHELBY COUNTY,

Defendant.

 

CONSENT ORDER OF DISMISSAL

 

Upon the representations of the parties, by and through
their undersigned attorneys, that all matters herein have been
amicably resolved and that this action should be dismissed, it is
ORDERED, ADJUDGED and DECREED that this action should be, and it

is hereby, dismissed with prejudice.

SO ORDERED this §§I/ day of August, 2005.

  

 

EB. NALD' l
ITED sTATEs DISTRICT JUDGE

   

Respect u y ubmitted

 

 

for ent y:

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Victor I. Fléitas, Attorney Hi e McLeanL'Jr., Attorney
for Plaintiff Bennie L. Cobb for Defendant Shelby Count

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Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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Honorable Bernice Donald
US DISTRICT COURT

